16 F.3d 409NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Samuel Cato GILBERT, Petitioner Appellant,v.John P. GALLEY;  Attorney General of the State of Maryland,Respondents Appellees.
    No. 93-6809.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 27, 1993Decided:  Jan. 27, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  J. Frederick Motz, District Judge.  (CA-93-1430-JFM)
      Samuel Cato Gilbert, appellant pro se.
      John Joseph Curran, Jr., Attorney General, David Phelps Kennedy, Office of the Attorney General of Maryland, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before WILKINS, HAMILTON, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Gilbert v. Galley, No. CA-93-1430-JFM (D. Md. July 16, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    